        Case 4:11-cr-00214-JM         Document 33        Filed 11/15/11      Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

                                                *
UNITED STATES OF AMERICA                        *
                                                *
                                                *
v.                                              *
                                                *             No. 4:11CR00214-JMM-1
                                                *
ROBERT ROGERS                                   *
                                                *
                                                *

                                            ORDER

       Before the Court is Defendant’s Emergency Motion for Temporary Release (Doc. No.

30) and Defendant’s Supplement to Emergency Motion for Temporary Release (Doc. No. 31).

In his motion (Doc. No. 30), the Defendant asks for temporary release for the purpose of

attending his brother’s funeral, which is to occur tomorrow, November 16, 2011, at the Meredith

Nowell Funeral Home in Clarksdale, Mississippi from 12:00 PM to 2:00 PM. Pursuant to 18

U.S.C. § 3142(i), the Court finds that the Defendant’s brother’s funeral qualifies as a compelling

reason for temporary release. Accordingly, over the objection of the United States, the

Defendant’s motions are GRANTED.

       IT IS, THEREFORE, ORDERED that:

       1.      Defendant be temporarily released from custody from 8:00 AM to 6:00 PM on

               Wednesday, November 16, 2011, for the sole purpose of attending his brother’s

               funeral in Clarksdale, Mississippi.

       2.      Margaret Koss is designated as Defendant’s third-party custodian for purposes of

               Defendant’s temporary release. Ms. Koss is to provide the Defendant with

                                                1
 Case 4:11-cr-00214-JM       Document 33        Filed 11/15/11     Page 2 of 2




      transportation to and from the funeral.

3.    Defendant is to return to his current place of custody at 6:00 PM sharp.

IT IS SO ORDERED this 15th day of November, 2011.




                                            JOE J. VOLPE
                                            UNITED STATES MAGISTRATE JUDGE




                                       2
